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序号      名称                        图片                           工艺            mold fee USD




1    Front cowl                                           injection   mold          30000




2       dash                                              injection   mold          36667




                                         Trojan EV & GCC

                                          DTX-26B
                                           No 4:21-cv-03075



                          CONFIDENTIAL - ATTORNEYS' EYES ONLY                               TROJAN EV000206
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3        underbody                                       injection   mold       66667




4         retainer                                       injection   mold       35485




5   rear cowl green part                                 injection   mold       45000




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6   battery container                                  injection   mold     21666.5




7   underbody support                                  injection   mold       92500




8     front light                                      injection   mold       41500

                                                                           369485.5




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